Case 1:04-cv-01542-G|\/|S Document 15 Filed 05/25/2005 Pa et of2 l
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TYPE OF PROCESS

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l acknowledge receipt for the total Tnta] Pmcc:ss District |')istrict Signztturc of Authorir_ed USMS Deputy or Clcrk Datc
number of process indicated ot` Origin to Scrvc

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than one U$M 285 is submitted) No. No,

 

 

 

 

 

 

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l hereby certify and return thut l § have personally scrved.wmv: legal evidence cf scrvicc. § have executed as shown in "Rcmarkx", thc proce\s described
nn tile individuu[, cnmpany. corporation ctc.. ut thc addrcs. .\huwn ub()vc t)r nn the individuul. company cnrpc)ration. ctc., shown `at the address immth bclu\v.

 

i:i l hereby certify and return that l am unablc to locate thc individual. comp;'in}.'l corporation ctc.. named above (S'L'u n:m:irks bciow)

 

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REMARKS:

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Rl",TURN ()F \-V.MVICR Ol" SER\’ICE ()l" Slll\'li\'l()i\l$

l acl<now|cdgc rc-ccipt ofthc request that l can waivc service ol`sumnions in thc matter ot
(_`../\. l\lo.U¢l-|542 in thc Unitcd Statcs l)isti‘ict of Dcla\varc. |ha\'c also rcccivcd a copy oi` thc
complaint in thc action. t\-vo copies ot`this form_ a copy ol`tbc ()rdcr ot`thc t`ourt authorizing
service and a mcans by which I can return thc signed waiver without cost to nic.

l agree to save the cost ot`scrvicc ot`a sumtnons and an additional copy ol`thc complaint
in this lawsuit by not requiring that l bc served withjudicial process in thc manner provided h_v
Rulc 4. l will retain all defenses or objections to thc lawsuit or to thc_iurisdiction or venire ol`thc
(`ourt. except for objections based o_n a defect in thc summons or in thc service ol`tlic summons

l understand that a judgement may bc entered against thc party on whose bchalt`l ain
acting ifa response is not served and lilcd within 60 days aftcr: i\flav l(). 2()()5.

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I)UTY TO AV()I[) UNNECESSARY COST OF SER\"ICF. Ol<` SUMMONS

Rulc 4 of thc chcral Ru[cs of ("ivil Proccdurc rcduircs certain parties to coopcratc in sa\'in\_1
unnecessary cost ofscrvicc ol`thc summons and thc complaintl A defendant lo rated in thc
United States. who. after being notified of an action and asked to waive service oi`snmnions
nn behalf nl` a plaintil`t`located in the US, fails to do so will be required to bear the cost ol`
such service unless good cause bc shown t`tn' that dcl'cndant's failure to sign and return thc
\vaivci'. ' ` l ' `

|t is not good cause for a failure to waive service that a party believes that thc complaint is
unfounded or that thc action has been brought in an improper place or in a court that lacks
jurisdiction ovcr the subject matter ofthc action or over dcfcndant`s person or property /\
defendant who waives service ofsummons retains all defenses and ob_icctions. except any
relating to thc summons or thc service ot"sunimonst and may later ob_icct to thc_iurisdiction ol` thc
(`ourt or to thc place to where thc action has bccn brought

/'\ defendant who waives service must within thc time specified on the "Rcturn ot' Wai\c.r"
form served on plaintiff ifuurcprescnted or on plaintiffs attoi'ncy. a response to thc complaint
and must also file a signed copy ofthc response with thc (`ourt. |fthc answer or a motion is not
served within this timc, a default judgement maybe takcn against that dcl`cndant. lS_v \\':ii\'in_cl
scrvicc, a defendant is allowed more time to answer than il`thc summons had bccn actually
served when the request for waiver of service was rcccivcd.

*"i?,` 16 ill-l 93 l\`%".' §l]l]§

